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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CRIMINAL ACTION 10-100-KD-C
                                                )
DAVID LEE RILEY,                                )
  Defendant.                                    )


                                            ORDER

       This matter is before the Court on a sua sponte review of the record.

       On January 21, 2011, this Court sentenced Defendant David Lee Riley to a 60-month term

of imprisonment for conspiring to possess crack cocaine with intent to distribute. (Doc. 95).

Exactly 17 months later, on June 21, 2012, the United States Supreme Court held that the Fair

Sentencing Act of 2010, which raised the quantities of crack cocaine required to trigger mandatory

minimum penalties under 21 U.S.C. § 841(b)(1), applies to all defendants sentenced after the Act’s

effective date of August 3, 2010, even those whose conduct occurred before that date. Dorsey v.

United States, Nos. 11-5683; 11-5721, 2012 WL 2344463 (U.S. June 21, 2012).

       Trial counsel for the Defendant is hereby ORDERED to file on or before Tuesday, July

24, 2012, a brief that addresses whether, in light of Dorsey, Defendant may be entitled to any

relief, and, if so, the procedural mechanism by which such relief may be obtained.            The

Government shall respond to Defendant’s brief on or before Tuesday, August 7, 2012.

       The Clerk is DIRECTED to send a copy of this Order to Defendant by U.S. Mail.

       DONE and ORDERED this the 10th day of July 2012.

                                             /s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE



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